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ATTORNEYS FOR
GULF STATES TOYOTA, INC.

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

 In re:

 REAGOR-DYKES MOTORS, LP, et al.                  Case No. 18-50214-rlj-11
                                                  Jointly Administered
                      Debtors,


                                 WITNESS AND EXHIBIT LIST


TO THE HONORABLE ROBERT L. JONES
UNITED STATES BANKRUPTCY JUDGE

          Gulf States Toyota, Inc. (the “GST”), respectfully submits this Witness and Exhibit List in

connection with the hearing on the Debtor’s Motion for Entry of an Order (I) Authorizing and

Approving: (A) Bid Procedures: (B) Stalking Horse Bidder and Overbid Protections; and (C)

Form and Manner of Notices; (II) Scheduling an Auction and Sale Hearing; (III) Approving the

Sale of Substantially All the Assets of the Debtors, Free and Clear of All Liens, Claims,

Encumbrances and Interests; and (IV) Granting Related Relief (the “Motion”); scheduled in this

case for October 5, 2018, at 10:00 a.m., in the Courtroom of the Honorable Robert L. Jones,
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located at Room 314, U.S. Courthouse, 1205 Texas Avenue, Lubbock, TX 79401 (the “Hearing”),

and respectfully designates the following witnesses and exhibits:

                                         WITNESSES

       1.      A representative of the Debtor;

       2.      Any witness designated or called by another other party; and

       3.      Impeachment or rebuttal witnesses.

                                          EXHIBITS

 Exhibit                      Document                              Offered        Admitted
  No.

 1           Toyota Dealer Agreement

 2.          Standard Provisions to the Toyota Dealer
             Agreement

 3.          Extension letters dated October 20, 2017 and
             April 15, 2018



       GST reserves the right to amend or supplement this Witness and Exhibit List at any time

prior to the Hearing.


Dated: October 2, 2018                       Respectfully submitted,

                                             BONDS ELLIS EPPICH SCHAFER JONES LLP

                                             /s/ H. Brandon Jones
                                             H. Brandon Jones
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                                             -and-
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                                            Attorneys for Gulf States Toyota, Inc


                                CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served electronically through the Court’s
ECF system this 2nd day of October, 2018, to all parties requesting notice pursuant to
Bankruptcy Rule 2002, and via email to the parties listed below:

              United States Trustee (exbibits included)
              1100 Commerce Street
              Room 976
              Dallas, TX 75242
              Stephen.McKitt@usdoj.gov

              Marcus A. Helt (TX 24052187) (exhibits included)
              C. Ashley Ellis (TX 00794824)
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                                                    /s/ H. Brandon Jones
                                                    H. Brandon Jones
